Case 4:21-cv-05095-SAB                                    ECF No. 1-8                       filed 06/21/21                    PageID.77 Page 1 of 3




                                    Cr-filt®                                                                                                                   Rally° AgriFinance
  Application and Account Agreement


 Applicant Information
  First Nam Cody                                         Physical Address                                                        Mailing Address
  Middle Initial: A                                      Street; MO liellilovver Rd                                              Street: 830 BelltlotterBd
  Last Nalco; rist2IINY                                  City: Mesa                                                              CIty: Mesa
  Suffix                                                 State: WA                                                               State: WA
  Social Smutty Nuntier                                  Zip: 99343                                                              Zip: 99343

  Phone:                                                 US aitzen: Yes                                                          Bankruptcy Filing No
  (509) 547-9680
  Alt, Phone
  (509) 947-4991
  Dale of Birth

  broil
  Ordify@anstordayfirroismaile

Dairly Information
  LEO Nand. Easterdiry Farms                            Physical Address                                                         Mailing Address
  Entity Type; General Partnership                       test: 5235NFridastrial Way                                              Street; 5235 NIndustrial Why
  Tax Ictentifiinaion Number:                           City: Paseo                                                              City: Pasco
                                                        State WA                                                                 State WA
                                                        Zip: 99301                                                               Zip: 99301
  State of Oro:Mullion
  WA
  Date ofGmanization
  0118111990
  Phone

Primary Line ofBusiness
  Odom &pottiness

Financial
  Balance Sheet                                                                                                                                       Date ofBalance Stint 10/3112019
  Meets                                                      liabilities         '                                           Income
  Cinreird Asstia: $76,773,94488                              Current liabilities: $74,335,036.00                             Gross Clop Ince= PA0
  intertrodiate AsselS:10.00                                  Interrnolateli abilities: 91100                                 Gross livestedctroame: $0.01
  'fennAssets: S41,624,11/0.00                                TemiLiabillIG; $19,587,545.00                                   Other ParmInoorm WA
  Total Assets: 5118,398,014.00                               Tritalliabilities: S93,842,581.00                               Total Farrnlecorm $900
 TotalEquity:S24,555,433.09
            crop                        Acres                                         leratatie Vekl                                     titiosrock                    Court


Dealer        nmtdrti
  Vendor Name: JRSiniplot armpits,                                                                                           Dealer Address
 Dealer Narne:                                                                                                               Street:
 Dealer' Phone;                                                                                                              City:
 Credit Limit: $I,0110,000.00                                                                                                State:
                                                                                                                             BP:

  You promise to pay to Rabo AgriFinance MC, (referred to herein as 'RAF"), or its successors or assignees at Post Office Box 410650, Saint Louis, Missouri 63L41, the
  outstanding principal balance and accrued Interest on tills QuicklInk Credltili Application and Account Agreement (hereinafter the "Agreement") as agreed and further described
  below. The wards you, your, and yours mean each person endive entity who applies far and Is granted credit pursuant to this Agreement. You alnharize any one or more dealers
  (each hereinafter' a 'neater') who has been approved by RAF to conduct business pursuant to one or mom written agreements with RAF to submit prongs) of your purchase(s) of
  preducts and/or services to RAF and far RAF to provide advances In payment of such purchases under this Agreement (each hereinafter an 'Advance" or "Advances') and you
  authorize RAF to advance, at its option, under this Agreement sunicient funds to satisfy any outstanding obligations to Dealer; Advances shall he equal to the amounts Identified
  on the invoices or other proofs of purchase, sale or delivery submitted by Dealers to Mt You understand and agree that RAF may rely on all invoices or other proofs of purchase,
  sale or delivery submitted by the Dealer whether such Invoices or other proofs of purchase, sale or delivery are submitted verbally, In writing or electronically to the same extent
  as if you had personally signed a receipt farsuch purchase orother request fur payment. Each A dvance is decried to bean advance of funds to you under this Agreement,
  Dorefitlorku You understand that no Advances will be made under this Agreement until this Agreement Is approved by RAF. You understand that RAF may at any time discontinue
  your ability to receive Advances or have Advances made on your behalf under this Agreement if any of the following occurs 1) if the total of any Invoice or other proof of purchase,
  sale or delivery, Wren combined with the current principal balance of this Agreement, would cause the amount dun on thiS Agreement. to exceed the maximum credit limit approved
  by RAF; 2) the Draw Period (as defined herein) has passed; 3) you are In default of this Agreement, any of the Security Documents (as defined herein) dr any supporting tenor
  documents; 4) the request Is not adorned under the then currently existing policies and aroccdures of RAF in effect under this financing program; or Si there has been a material
  adverse effect In your ability to satisfy your obligations to RAF, as determined solely by RAF,
  credit thrdt; When the Agreement Is approved by RAF, RAF shall then notify you of Its approval and the applicable Drew Period (as defined herein). You understand that the
  maximum amount of revolving credit available to you at any one paint in time sill he identified in the approval letter or other notice issued by RAF, and regardless or the ailment
  specified an this Agreement the actual credit available hereunder shall not exceed the credit approved by RAF. ₹iowever, RAF may, in Its sole diScretIon, make an Advance for
  pinehases in response to your request which exceeds such limit. In such cases, you agree dial all such Advances shall be covered by all the tenni arid conditions contained in




                                                                                                                                                                                Exhibit H
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    this Agreement, the Security Documents (as defined herein), If any, and any other agreements between you and RAF.
    Draw Preto e The Draw Period Is the time period during which Advances may he made under this Agreement. RAF may modify the Draw Period at Its sole discretion. Advances,
    rticludIng Advances for Special Promotions (as defined herein), will only be available if the Draw Period extends beyond the availability of the Special Promotion. However, RAF
    may, In Its sole discretion make an Advance for purchases be response to your requestsenich exceeds the thaw Period. In such cases, you agree bleat all such Advances shall be
    covered by all the tents-and conditions contained in this Agreement, the Security Documents (as defined hereto), Ratty, and any other agreements between you and RAF.
   Special Promotions: You may earacipete In one or more programs Including special promallogat rimming terms, cacti as extended free periods, incentive interest rates on certain
   purchases or for limited floe periods or other promotions that may be available at RAF's andror Dealer's discretion (each of these defined herein as "Special Promotional, These
   Special Promotions may be disclosed by the Dealer at the time of yew- purchase ar by RAF. Eligibility requirements for Special Promotions vary by dealer and one offered at RAF's
   and/or Dealer's discretion. The applicable Special Promotion will be Identified In your telling Statements (as defined herein). You understand and agree to the following;
         Advance= Each Advance shall be subject to the terms and conditions craw applicable Special Program) and shall Include He awn Maturity Date (as defined herein), interest
         rate and Payment terms.
             Dlensdiner Of Weroantle= You agree that purchases financed by RAF beet not been prodoced or manufactured by RAF. You acknowledge that you are purchasing the
             products end/or services fern the Dealer and/or manufacturer and not RAF You understand and agree that RAFIs financing the purchase for you on an as-Is, eberees basis
             irdihout any warranty, eXPre-ssed or Implied, by RAF, This Includes any IMPLIED WARRANTIES OF eliERCHANTABILTYY, fleRelfeelltHeeeeneT AtMYOR FIDIMEs5 FOR AMY
             pAsteeeLILAft You understand that the products and/or services may be covered by v.orranty of the manufacturer and/or Dealer. Such warranties are usually In vetting and
             attached to the product or their containers. You understand that such warranties may he limited and that you will direct any questIone or complaints directly to the
             manufacturer anti/or Dealer and that you viii not raise any defenses to this Agreement based upon the products or services you have purchased.
             Vetere of Punthasem, You agree that it you return a purchase financed through the use of this Agreement, you well return the purchase to the Dealer who delivered the
             purchase to you and you win cause any arid art payments or credits far all refund amounts, as detemened by that Dealer's policies, to be sent directly to RAF. Any such
             returns and refunds will not diminish nr otherwise affect your obligation to RAF for tie repayment to RAF of any and all mantes advanced on your Agreement, including, but not
             limited to, monies owing on account tithe financing of the purchuses returned unless and until such credit Is received by RAF.
        Intereet Rater You agree to pay Interest from the earlier of a) the time of an Advance or b) the date on teeth RAF becomes obllgated to make an Advance oe your Metal( (each
        a 'time of Each Advance`) regardless of whether or not you actually obtained possession et or received thy product or service on that date, sutatect to any applicable grace
        periods. For Advances not subject to Special Pnarnotton or Mr- these time periods erten a Special Promotion does not apply, you agree to pay from the Throe of Each Advance
        until paid le eel Interest at tire noredefauft annual rate equal to ten percent (lreel0%) ill excess of the Prime Rate (the - Standard Rotel, *rich rate shall be adjusted as of each
         day of change thereof to reflect changes in the Prime Rate. Any change in your interest rate, except a change due to a change of the Prime Rate, expiration of a Special
        Promotion ar event ordefault, telt bees disclosed to you In a subsequent notice as provided in the section enteled "Changes to Your Account Agreentent and Credit Limit." For
        purposes Otters Agreement, the teem "Prime Rate" shall mean the rate of interest described as the prime rate of leading financial Institutions as published from time to
         time In "The Wall Street lournal-PlidWest edition" provided however, that at any time the Milne Rate is fess than zero, the Prime Rate Used in this Agreement for the interest
        ram calculation shall be zero. Any Interest or principal hereof welch Is not paid by tee Maturity Date orsuh.sequent to any other event of default shall bear Interest until such
        amounts are paid in full at the rate of twenly-one percent 121%) per year. All interest hereunder shall be calculated based one year of 360 days and the actual number of days
        elopSed. Notiethstanding anything to the contrary herein, the Interest rate shall at no time exceed the omelet-num rate, If any, permitted by applicable law. Open expiration of a
        Special Promotion rate you understand that the rate wilt be automatically and Immediately, without addlilonat notice, adjusted to the Standard Rate.
             Tense ResIdentre Thecelling rate for this Agreement, both before and after maturity, is the (weekly) centre; rate announced by the Credit Conmessioner horn time to time.
             Pardneuen Interest Cange: If Interest is actneng on the principal balance due under this Agreement, but the total ot such interest for purchases Is less than $.50 in a bell eg
             period, RAF veil assess a minimum interest charge of $.50 In a billing petted.
        Paymentes Each Special Promotion ptoeram may include separate payments Identified In year Billing Statement. Failure to make any payment on time may be considered a
        default under this Agreement The balance shown on yete billing Statement may Include aronunts suteect to rerferent periodic 'ems. The sooner you pay the balance shovel on
        your Billing Statement, the less you will pay in Intern-St. leStruCtiona for making payments are on your Billing Stetemeht I n order to be credited es of 4 particular day, Veer
        payment must be received by RAF by the date and time specified in the Wiling statement. Do net send cash payments. RAF sail accept tato or partial payments, as well as
        payments that reflect "paid In fur or other restrictive endorsements, without losing any of its rights under this Agreement. If your payment due date falls on a Saturday,
        Sunday or holiday, the payment dim date will not be extended. You may, at any time, prepay the balance due under this Agreement In II-alai-mete Partial rePaYrnenld hereon,
        without penalty or premium, Depending upon the terms of any applicable Special Proneetton governing your Advance(s), ail or a portion of your balance may rewire periodic
        payments. For that portion of your berlanCe that requires a periodic payment, RAF roust receive et least the Minimum Payment (as defined heroin), as calculated below, by the
        paymentdue date. Tire Mirk/mum Payment (as defined herein) Is calculated as follows: the sum of all accrued Interest plus Intereet winch is estimated to accrue through rite
        payment due date plus any principal reduction required based on the applicable plisigtenttliteria (which you acknowledge receipt of ores may be subsequently disclosed le you
        by RAF or Dealer) plus any amount that Is past due and any amount In excess of your credit limit plus any costs Meijer fees incurred by RAF in conjuncticse with lies Agreement
        CeenimomPayinenee. An Increase in the variable rate tell have the effect of increesiori the Monthly and final payments.
        Maturity Date: The maturity date Is the date in which the Advance is due In Full ("Maturity Date). The Maturity Date of each advance shall be identified to you by RAF on the
        Billing Statement (as defined herein), Failure to pay this amount on the Maturity Date constitutes a Default under this agreement.
        Deterininetion of Mt's:Total Deem The total outstanding balance (the amount you ;me FtAf) is eget), to your current principal balance plus accroed interest. To calculate the
        total outstanding balance, RAC begins with the outstanding principal balance on your account at the beginning of each telling period and adds arty purchases and
        subtracts any credits or payments credited in that billing period. RAP then addS the applicable Mitres'. charges, foes and costs end limn makes any other applicable
        adjustments.
        Payment Application: RAF shall apply payments In Its sole discretion. Generally, payments will be applied first to fees and costs of collection, If any, then to accrued and
        kmpeid interest, and then in reduction of the ourstancileg principal balance, and RAF will allocate payments to pay oftbalances at lower periodic Interest rates (mime paying off
        balances at higher Periodic Interest rates.
        credit Itotoness: If you have a credit balance In your account under this Agreement, RAF may return to you any credit over $30,00, You may request a refired ore credit balance
        at any time. RAF may reduce the amount of any credit balance by the amount of any new Advance. If after ninety days a credit balance or less than e30.00 remains In your
        account, you will forfeit the arnount to RAF.
  Dieing etatement: Year billing statement, as prepared by RAF, shoes the total balance, any Interest thargee, fees, costs, the mtnenern payment due and the payment due date
   coiling Statement" or `Billing Statementsl. The billing Statement may also show year current Agreement credit terve an itemized list of current purchases, payments and credits,
   an Interest rate summary or other Important Intonnation. It RAF deerriS your account unconeetibte or If IMF initiates collection proceedings, RAF, In Ile sole discretion, may stop
   sending you Billing Statements. However, interest charges, fees and costs will continue to encore regardless of whether RAF sends you Billing Statements. RAF will send
  Billing Statements to you on dates and intervals as determined by RAF. The Billing Statements tell be deemed correct and accepted by you unless you notify RAF In writing within
   20 days of the date of the Billing Statement, If you believe there Is an error on your Ogling statement, you must notify RAF in Writing, at P.D. Box 410650, Saint Louis, MO
  6314-1 within the 20 day pedod.
   Beene Acateeta and riling You must notify RAF of any changes in your Freeing address and/or name by contacting RAF at (808) 305-8505 or any subsequent telephone
   number as may be shove on your telling Statement. For your protection, RAF may require written confirmation of your address or name change(s). RAF will mall your Billing
   Statement to only one address.
   Changes to Your Amount Agreement and *milt Unlit: Except as otherwise prohibited by law, at RA pe discretion, RAF may change your credit limit, Maturity Dam, fees, costs,
  interest rate, Special Prernotion, or other terms of your Agreement at any time. RAF will entity you of any change to your Agreement either by sending you a separate melee or
  through your Billing Statement A change may take effect before you receive notefication from RAF, You may request a change to your credit limit by contacting RAF at (Ethel 395-
   0505 or at any subsequent telephone numberas may be shown on your Billing Statement. RAF may require additional documentarian from you before approving or denying changes
   yeo request to your credit limit. RAF cork add or delete provisions reiteing to your Agreement are to the nature, extent and enforceareet 'titter rights and obilgratans RAF or your
  may have rotating to this Agreement. These changes are binding on you. In the event any change will cause a fee, rate or minimum payment to increase (other than dee to a
  change in the Prime Rate, expiration of a Special Promotion or event of default j, RAf yell mail you meter, notice at least 15 days before the beginning of the billing period In which
  the change tell become effective. If you do not agree to the change, you must notify RAF fir veiling wither 25 days after the effective date of the change and pay RAF the total
  outsterreeng balance kinder the terms of the unchanged Agreement. Any charges made pursuant to this Agreement by you after the effective date of the change shall be deemed
  acceptance by you of the change, even if the 25 days have not expired.
  Security Doournmit= This Agreement shall be secured by any existing and future security agreements, mortgages, deeds of trust or other pledges of collateral (the "Security
  Documents') between RAF and you, Wary, You enderstand that RAF may temere a pledge oreollateral to secure the creditor financing applied for in the event that you fail to meet
  RAF's criteria for providing unsecured credit or financing.
  Seaotty koterest : in addition to any ether security pledges granted to RAP, you grant RAF a purchase money security Interest In alt purclwees financed under your Agreement
  and the proceeds of the purchases, including insurance petards. This provision does not apply W you reside in North Carolina and the interest on a purchase or traitsaction
  exceeds 15%. RAF's security Interest continues until the purchase Is paid for In full by application of your peyments in the manner described In ties AM-cement.
  Default: You understand that you will lee in default of this Agreement if any one or more el the following events occur: 1) you fall to make payment of the remount due on the
  Maturity Date; 2) you fail to keep any other promise, under this Agreement or any other town document, vete RAF; 1) you are In default pursuant to the terms of any ether loon or
  Men dee oment you have with RAF; 4) any other creditor of yours attempts to collect the debt you eve them through court preceedIngs; 5) you die; 6)
  you tile bankruptcy; 7) you do or fall to do something Witch causes RAF to reesenettly believe you eel not tie able to satisfy your obligations you owe to RAF.
  Oeleetion of Geste Yea agree that you will be liable to ftAF her any costs Incurred by RAF in perfecting its secured position in the event that this Agreement is secured vat h any
  cogeteral. Yea authentre RAF to advance suMdent funds under this Agreentent to pay all costs Incurred by RAF In perfecting Its security position, TO the extent not prohibited ley
  low you also agree that you will pay all caste of collections, whether secured or not, including reasonable attorney tees, together with Interest at the default rate if you do not timely
  pay yourobileatIons to RAP.
  tate Payrrent Fee: If within 20 days after the payment due date, RAF has not received the total outstanding balance, RAF may add to your balance(s) due 4 late payment fee of
   $35.00.
  Returned Payment Fe= If you seed RAF a check or electronic authorization that is dishonored upon first presentment, fur F may add to your balance a the of $31.00.
  Annual Few There are no ennual foes to have this Agreement.
  AppficatateLaw: This Agreement shall an govemed by titulars of the State ofIowa.
  Remedied: It you are to default °reefs Agreement, you Understand that RAF has any arid all of the fatiguing remedies: I) RAF may demand immediate pewee/it in full of all that you
  owe RAF under tfils Agreement; 2) RAF may setoff against ally rights you have to payment From RAF; 3) RAT may demand additional security or additional patties to oe obligated
  to pay your obligations in exchange for not immediately using any of the other remedies in this paragraph; 4) MP may refuse to make any additional Advances under this




                                                                                                                                                                                   Exhibit H
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     Agfeement; 5) RAF may seek any collection efforts of any collateral that may exist under any agreement between RAF and You: Or 6) RAF may use any other remedy aVallable.
     under any appropriate state or federal law. By selecting one or mole of drese remedies, RAF Mies not give up Its right te' use any other remedies. If RAF, le its. sofa discretion,
     tr.stires ItS right to exercise arty remedy upon the event of default, RAF does not waive its right to later exercise any.remedies tensed upon much default.
     Waiver 8y *Execution of this-Agreement you Agree yoU will riot requite RAF to: 1) demand payment of the amounts due (pnwentrnent);.7) obtain official certification of non-
    payment (Motest)i.3) give melee that the amounts due have not been paid (notice of dishrinor);A)giVe notice of interitlon to accelerate; er 5).ghie notice ofaccelemtlor6 You aka
     give up any. eightli' Yon May have under arty valuation or appraisal laws, tench may apply to you.
    Convent to lrarlarectiore You agree that the acCerSencer and appreval.Of the Agreement urruirnd In Cedar Falls, Jona and that perfonnance of thIS.Agreereent bryou involves
    payment Co PAO In Cedar Fella, Iona: You knowingly and voluntatily consent to be sUblect to the jurisdiction Sr the State of lows ho purposes of adjadtcatIngereiriginta rind
    Hobeilles of tho Paredes pursuant to this Agreemen itt) venue to be in the Iowa District Court for Mack IlevA County, Inver, or the tented States Federal Disbiet Court for the
    NOrthemDlstnit pf
    Telaphonefflialtining andRecording: RAF may monitor and 'mold your telephone calls with ttAF to astute the quality ofRAF's service,
    CamoeltiegtheAccoeint Agrearrere: Voll may Cancel this Agreement et any time by rvatifyIng RAF In writing. in the event yOu cancel the Agreement, you remain responsible to:pay
    the pt(ecipal balance; Interest, costs and tees according to the terns. of the Agreement..
    140figgesnent: RAF resent= the right to assign any or all. of itAFge'S rightsand abilOations Underthis Agreement to a third party. You shall not assign sayer all of your riglilS and
    obligations under this Agreement without the written pi:mist:Ion of RAP: • •           -
   glieauthiedzedtere tifthe,Agrawnientt If you believe there has been any uneuthenzed use. or charges to your. Agreement, you must notify RAF Immediately by .calling 1866) 3g5;•
   .8505 dr. any :Wagernient telephone number as may be shown on the Billing Statement. RAF may requite yell to provide eertaleinfennatton MAIM% ye help RAR•deternane wbet
   'happened, end to comply with such procedures as RAF may require frir RAF5t.m.s Inuestipation.
  •recannliwt in the event that any signature Is delivered by facsimile (lex) transmission rarity erestil delivery ofa".brIr formatdata ale; such stenateis Wadi be tone Wired a binding
    signature and shall have the sane force and effect es en original algeatUre. You wiltaosure thotall.docurnenta heating the °defeat slanatineregi be tomeided to RAF as seen en-
  • pea-stele after being rayed or ernaited via "err, but failure to provide eacirdecUreents with original signatures shalt not affect the ability of either party to rely on fax stgnaturestris
    the same extent as an original,
  .0inch:twee of tnfairmatiosa If your Agteenient is approved, RAF may treat* to thnei,use the above information and other personal Information collected or compilell by RAF in
    connectIno with this Agreement (including account status and payinent Watery) fiolleetilloy the "Intivination) andshare the Information with Dealers. and RAFSOes'ainilates
    and/or agents forthe purposes eV:Including, hie' notlimited to; °ponies, administering, servicing, trans acting on and enforcinnyour agfeenrents, collecting amounts owing to RAF or
   Its assignees, verifying and evacuating your current and ongoing chiclitatorthirieSS • and financial status,: responding to your Inquiries anti .omegose communicating with you
   hiliteirifen your *Crewe(s), Including contacting you regormag extensions or renewals of INS:Agreement. Yob acknowledge to be bound by and consent RAF's most recent
   Privacy Policy tielt appears on the rebong webeite.
    gaggeseefutiorc and Warranties: You represent and warrant that all information you provided in the Agreement is title end correct: You acknowledge all infogiletkarcontalned in
    the Agreement Is material and serves a.: the basis for no f making a credit decision on the Agreement: You thither represent and warrant that the extension of creditevidenced by
    the Agreetertni for bosoms:, commercial or nnricullurfil fau tune, nird•is not for consenter peirroveS . Your solunisaloo el any report, meted or olhor iolnim Mon pertaining to you.
    br Shit pf your suhsi.nmlus rmarlollmis or operations, financial m                 horn pine to Moe, :Atilt, or net required under the terse,' Of this instrument, will tte. deemed In be
   l:C*0MM by a re int,v niatitn by suu limit 7Alth Wreak, record or info, ,nalioo Is ctimpleit end OCcla-ne in all material ieSperlD aD 10,y0tir me any Of your subskliaties (mid, it
    applicable; rye, your suM.kilaries' partners, shareholders, members, or ritherorinelbals) conditions or operations; as ot the date ((such sueini,alon, Including, without limitation,
  ,ab ifedetital contingent liabilities, conditions °reparations.                                     . . . .                                                      .      .
 .blokicalotesernet Appat-antS: .0 rol or unexecutcd rg,o,,nyier or eontnilinterds to loan merely; extend Credit ofto.fattear ROM enforcing repayment DI a debt Including pleinises to
   betend or             ouch debt an, not enforceable, rep, dress oh the legal theory,upon whtch.It is based that Is In any yew (Mated to the Agreement. To protect the Applicanl(s) under
  this Agreement and RAF torn misunderstanding or disoppointmenr, any agreemenva We truer{ covering such grottos are contained in this Agreement and the SeCuifty llocumente
   winch am the co/DI:40c and OXCImallVt, slahs,,:nls ui rhe.vgrocment bervaten us, except ps we may later opine in tutting to modllysta.II docUments,               •
   omrtflgon flo.:/rabSDPartvost7; Af(Wove: If you area re:rdeol pi Al ichIgan or it your priMary DUalfleltiS add, ess is in Michigan, by signing below Yeti hereby certify, that you are engaged
   in the business of commercial tanning and that all products purchased on credit ur other loan proceeds                Othernise made    available. favor, under tots Agreement will be used
    exclusively for commercial agricultural purposes. This declaration Is trade corder penaltvolperjury.
  Affinnattonsi DySigning belOW, YOU agree bottle following::
  1) Sri. certify that the Agreement le.submeted onyourbehalf for the purpose of pro.curIng, estate's king and maintaining credit hum beta hit** width RAF and that all tenumetten
       provided In the Agreement is hoe and accurate as of this dater including butmot limited, to your pity tea l address, date of birth andsocialsecuritynumber.
  23 YOU have Carelolly read the lefonnetIon contained Within the Agreement and wanont it•to bp' crimpleie, We and accurate as .of the clateg set forth tubed and that.RAF and Its
      agitates. luny continue to rely upon. the Arneinarit-noMinnIng. to be, true and menet.unless and until written notice of charge Is 'given by you. In etzniurtcilon with the
       subrelSsten af.your Agreement, you authorize RAF to obtain a credit bureau report From any credit reporting agency and to request coneenation offnanclat or Other nforreattere
       of any kindnefietsoeeer from any thin( party haying dealings wen you,
  3) you hoke road, enders tend and atiree to the terms of MIS Agmeinorit Gensler/rig of Iptirpagos..You agree to the terms and conditions of this Agreement as written by RAF -
       without any changes by you. Any changes you make her this Agreement Withoirt the mitten consent ofRAF snail be null- andvoid. You have: retained * signed copy of 'this
       A.greerner14
  4) you agree chat there Is and shall be no oral commitment tb extend credit to yoifabd that a mitten Coinadtment signed by RAF, when and if the Agreeinete is.aeptoved, shall
       constitute the only hum of Ooremnenent by RAF. RAF shelf have no liability: to you or otheri in the event yam' Agreement is denied. If a loan shall be cilitimid         accepted
       by, you," iffering as to ambUnt,:plan, rate, term oily 'why other regrrett ittyndiat herciobererenegotinted,-itila Agreement shell nevertheless constitute yogi'application for the
       iremactuelly accepted by you.
  5) Your obligations as the applicant and it borrower Andany co borrower shalt be joint and several. Fach and every Individitel and entity elgning,te„low shall he held to be an
       applicrilic and a borrower:                                                                                                                                       .
  6)     if yott an a partnership, Maporotion or other entity and you are signing no behalf of such entity, youlremby VrtiThill and certify that you pare beenf,dtay. appointed and
       authorized by the entity to act on Its behalf wIthnzpecttia this Agreement and the count and financing applied for, and You are So colimered to traooaci such bu..iness on
      behalf 'tithe partnership, corporation or other entity as of the data neroot You further agree to lenity IMF immediately of um ownership changes of any 'entity 115uId rn this
       Agreernent.                                                                                                                                                                      •
  7)     Yotr.agree that RAF may notify any Dealerei the event your Agreameht Is approved or dented .and RAF may advise the.Dealer as to the credit limit and amount ore retie
      remaining available- Oti your Agmenient.                                                                                                                 •
  8)     *do authorize any third patty hitelcose to RAF and for OAF to obtain. mitten or oral credit informatiOn frvrtt any source whotoever, Including, but not, limited tn, credit
      reporting tigencteserld any 90:emMenial agency, even If such inkirmation would othe.rnise heprotected under.aey financial privacy acts.

       USA onliturtruct ,-Cstorner Iderntilczkion D.MejearD -Fn.acted to help the geverrurient fight the funding ur terrorisni and rneoey laundering. activities. Federal law reclaims all
       financial instRutIons to obtain, verily arid recent leMmvatitin that RD:Inlets each person tdvi apailao- for e loon. When you apply for a loon we wilt out you for your name, address,
       dole of birth and Other Information that will allow us to Identify you. We may also ask to see your diiveils license (ironer Identifying documents.


Amount Requested
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